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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

                                                        )
JOHN JAY CONDON,                                        )
                                                        )
                                Plaintiff               )
                                                        )
                        v.                              )       Civil No. 16-372-JAW
                                                        )
RODNEY BOUFFARD, et al.                                 )
                                                        )
                                Defendants              )


                                       MOTION TO DISMISS

        The plaintiff, currently a prisoner in the custody of the Florida Department of Corrections

(FDOC) after a transfer from the Maine Department of Corrections (MDOC), filed a civil rights

lawsuit against three MDOC officials stemming from his segregated confinement in both states.

In his suit, the plaintiff claims violations of 14th Amendment due process and equal protection,

the 1st Amendment protection against retaliation, and the 8th amendment prohibition on cruel and

unusual punishment. The defendants hereby file their motion to dismiss for failure of plaintiff to

state a claim upon which relief may be granted.

        Turning first to the plaintiff’s due process claim, in Sandin v. Conner, 515 U.S. 472, 484

(1995), the Supreme Court held that due process does not apply to a prisoner’s situation (and,

thus, there can be no due process violation) unless what is at stake is an “atypical and significant

hardship … in relation to the ordinary incidents of prison life.” In Wilkinson v. Austin, 545 U.S.

209 (2005), the Court offered some guidance on the type of prison conditions that might

constitute an atypical and significant hardship and thus give rise to a liberty interest protected by

due process. In that case, prisoners in the “Supermax” unit of the Ohio State Penitentiary were

not only kept in single cells for 23 hours a day, with cell lights left on at all times, exercised in a
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small indoor room, and ate meals in their cells, but they were also deprived of almost all human

contact (the cells having been sound proofed so that prisoners could not talk to one another).

Their placement was indefinite and after an initial 30-day review, it was reviewed just annually.

Placement in that unit also deprived these prisoners of eligibility for parole. 545 U.S. at 214,

223-224. The Court made it clear that what made placement in that housing unit different from

other segregated housing (the latter of which would not trigger due process protection) was the

especially severe limitations on human contact, the duration of the confinement, and the loss of

parole eligibility. The Supreme Court held that these conditions, taken together, constituted an

atypical and significant hardship. 545 U.S. at 224 (emphasis added).

       As described by the plaintiff himself, his segregated confinement, whether in Maine or in

Florida, did not trigger due process protections. He sets forth no allegation of being deprived of

human contact (or of lights being left on or of exercise being confined to a small indoor space for

that matter either), just of being deprived of the “liberty” to engage in congregate activities and

the other amenities of being in general population. See typewritten part of complaint, pp. 10-11,

¶ C.1. For a State of Maine prisoner, there is no parole eligibility to lose. As for the duration of

confinement, the only allegation regarding it being indefinite comes with respect to a housing

unit the plaintiff did not get placed in, the “Administrative Control Pod.” See typewritten part

of complaint, p. 3, ¶¶ 2-23, p. 4, ¶ 29, p. 5, ¶ 4. Further, his own complaint makes it clear that, at

least as far as his segregated confinement in the MDOC goes, the plaintiff received more than

enough reviews, specifically twelve in under eight months. See typewritten part of complaint, p.

2, ¶¶ 9-10, p. 5, ¶ 42, p. 6, ¶ 46. He makes no allegations with respect to the number of reviews

he received during his segregated confinement in the FDOC. Indeed, he is not claiming that his




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due process rights were violated with respect to his segregated confinement in the FDOC, which

has now ended.1

        Rather his claims are that defendant Maine State Prison Deputy Warden Ross violated his

due process rights by not giving him hearings on his appeals of some of the Maine State Prison

administrative segregation review board’s decisions to retain him in administrative segregation

and that defendant MDOC Deputy Commissioner Breton violated his rights when she did not

give him a hearing as part of a six month review of his status, by which he means meetings for

him to personally explain his side. See typewritten part of complaint, p. 3, ¶ 18, p. 4, ¶ 30, p. 5,

¶¶ 38, 41, p. 7, ¶ 51. (Although the plaintiff complains that defendant former Warden Bouffard

also did not meet with him, the plaintiff does not allege that Bouffard made any decisions about

his status, and the basis of his complaint in this regard is an MDOC policy, not the constitution –

see typewritten part of complaint, pp. 5-6, ¶¶ 41, 43.)

        However, even if due process were to apply here, which, as discussed above, it does not,

there is no due process right to have a hearing in front of an administrative appeal authority. In

Wilkinson, 545 U.S. at 228-229, the Supreme Court, although noting that Sandin had abrogated

the Court’s prior holdings on when due process is triggered, held that the procedural protections

set out in Hewitt v. Helms, 459 U.S. 460 (1983) were sufficient in the administrative segregation

context. In Hewitt, the Court had held that a prisoner was entitled only to notice and a chance to

present his (or her) views, and it specifically stated that, as was the situation in Hewitt itself, a

written statement by the prisoner was sufficient for this purpose. 459 U.S. at 464-465, 476-477.

Here, plaintiff was allowed to make statements at every review board and was also allowed to

file appeals to the Deputy Warden. See, e.g., typewritten part of complaint, p. 3, ¶ 14, p. 4, ¶¶


1
  The plaintiff says he has been in the general population of a FDOC facility since January 6, 2016. See
typewritten part of complaint, p. 8, n. 1.
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28, 29.2 As for the Deputy Commissioner, it appears that her review was a separate process and

certainly not one mandated even if due process were to apply here.

        The plaintiff’s equal protection claim is equally without merit. His claim in this regard is

that if he had been brought before a disciplinary hearing board, instead of an administrative

segregation review board, the most time he could have spent in MDOC disciplinary segregation

would have been 20 days, instead of the 235 days he spent in MDOC administrative segregation

or the combined 673 days he spent in segregated confinement in both states. See typewritten

part of complaint, p. 6, ¶ 45, p. 8, ¶ 55. He then makes the conclusory statement that he has been

treated differently from other similarly situated Maine State Prison inmates. See typewritten part

of complaint, p. 8, ¶ 54.

        However, this legal conclusion is not sufficient. Ashcroft v. Iqbal, 556 U.S. 662, 677-681

(2009), since there is not one factual allegation to support that other prisoners suspected of his

behavior have not been put in administrative segregation. Moreover, he is not alleging he has

been treated differently from other prisoners because of a “suspect class,” such as race. He is not

alleging, at least not with regard to the failure to bring him before a disciplinary board but

instead place him in administrative segregation, an intent on the part of any defendant to inhibit

or punish his exercise of a constitutional right3 or a malicious or bad faith intent on the part of

any defendant to injure him. See Aponte-Ramos v. Alvarez-Rubio, 783 F. 3d 905, 908 (1st Cir.

2015). Thus, equal protection clearly does not apply here.

2
  Although the plaintiff alleges he was not informed of his “right” to appeal at his first review, he knew
about it by the second review. See typewritten part of complaint, p. 2, ¶ 12, p. 3, ¶ 13. This was only 15
days after he was first placed in administrative segregation. See typewritten part of complaint, p.2, ¶ 9, p
3, ¶ 13. In any event, he says he chose not to avail himself of the chance to appeal at that early stage. See
typewritten part of complaint, p 3, ¶ 13.
3
  The plaintiff is making such an allegation, conclusory though it may be, with respect to his transfer to
the FDOC. This is something which will be discussed in the text below, as it does not implicate his equal
protection claim, but instead his claim that he was retaliated against for filing a state court lawsuit.
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        As for the plaintiff’s cruel and unusual punishment claim, he does not allege conditions

while he was in segregated confinement that would rise to the level of such punishment.4 The

plaintiff’s allegations come nowhere near the conditions described in Hutto v. Finney, 437 U.S.

678 (1978), the only U.S. Supreme Court case dealing with the Eighth Amendment’s limits on

“isolation” (filthy, overcrowded, windowless cell with no furniture other than a source of water

and a toilet that could only be flushed from outside the cell, with violence and risk of disease

rampant, and prisoners receiving meals of “grue” totaling fewer than 1,000 calories a day). The

mere fact of being deprived of the amenities of being in general population, which is all that the

plaintiff here alleges, does not mean there is cruel and unusual punishment. Under Rhodes v.

Chapman, 452 U.S. 337, 347 (1981), there must be an allegation of deprivation of the “minimal

civilized measure of life's necessities,” such as adequate food, clothing, shelter, or medical care.

Further, although length of time in segregation can be a factor, the federal courts have routinely

held segregated confinement, even for many years, is not, per se, cruel and unusual. See, e.g.,

Jackson v. Meachum, 699 F.2d 578, 580-84 (1st Cir.1983).

        The same is true even if segregated confinement leads to mental health issues (at least so

long as it does not cause extreme deterioration of mental health). Id. Here, there is no factual

allegation to support that the plaintiff has suffered extreme deterioration in his mental health due

to being in held in segregation. The plaintiff does not, for example, allege that he attempted to

commit suicide while in segregation. As for plaintiff’s claim that, due to the “heavy strain” on

his nervous system, he suffered an exacerbation of a pre-existing physical condition, restless leg

syndrome, such that he now needs more frequent medication to quell violent leg spasms (see the


4
 The plaintiff complains of other alleged events that he says, along with being placed in segregated
confinement, violated the Eighth Amendment due to the “serious emotional suffering” they caused him.
See typewritten part of complaint, p. 7, ¶ 52. However, none of them qualify as “cruel and unusual
punishment” as any court has described it.
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typewritten part of the complaint, p. 7, ¶¶ 52-53), this is not the type of result, even if true, that

would be sufficiently serious to meet the Rhodes standard. In addition, there is no allegation that

any of the defendants was deliberately indifferent to the alleged effects on the plaintiff’s mental

and/or physical condition. See Wilson v. Seiter, 501 U.S. 294, 299-304 (1991).

        Finally, there is the matter of the plaintiff’s retaliation claim. According to him, not quite

eight months after he was first placed in segregated confinement, the defendants transferred him

to the FDOC in retaliation for his having filed, more than three months earlier, a petition in a

Maine state court for a judicial review of his placement in segregation. See typewritten part of

complaint, p. 5, ¶ 35, p. 6, ¶ 46. Also according to the plaintiff, they made “false statements” at

the time of the transfer as to why he had been placed in MDOC segregation, based on which the

FDOC placed him in segregation there. See typewritten part of complaint, p. 6, ¶¶ 47-48.

        However, the plaintiff does not make the factual allegations required by Iqbal, 556 U.S.

at 677-681. He is relying on the fact that he was never “convicted” of the behavior that led to his

placement in segregation to support his assertion that the alleged statements were false (see the

typewritten part of the complaint, p. 7, ¶ 52, p. 8, ¶ 55), even though placement in administrative

segregation need not be based on a finding of guilt. See Hewitt v. Helms, 459 U.S. at 474. Also,

the plaintiff does not even so much as claim that any defendant knew that the alleged statements

were false.

        Similarly, he does not set out all the factual allegations necessary to support a retaliation

claim. Although he does allege that he had engaged in constitutionally protected conduct (filing

the state court petition), and a transfer might be the type of adverse action sufficient to deter a

person of ordinary firmness from undertaking more activities protected by the First Amendment,

the plaintiff does not put forth any factual allegation to show a causal connection between the



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two. See Hannon v. Beard, 645 F.3d 45, 48 (1st Cir. 2011). There is not even an allegation to

support that any of the defendants in this case, as opposed to the MDOC as an entity (and its

attorney),5 knew that he had filed the petition for judicial review.

        Therefore, for all the reasons stated above, the defendants ask that the court dismiss this

case for failure of the plaintiff to state a claim upon which relief may be granted.



Dated: October 11, 2016                                   /s/ Diane Sleek
                                                          DIANE SLEEK, AAG
                                                          Office of Attorney General
                                                          Six State House Station
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                                 CERTIFICATE OF SERVICE

I hereby certify that, on this date, I caused one copy of this filing to be served upon John Jay
Condon, Zephyrhills Correctional Institute, 2739 Gall Blvd., Zephyrhills, FL 33541, by having
the same deposited in the United States Mail, postage prepaid.


Dated: October 11, 2016                                   /s/ Diane E. Sleek
                                                          DIANE E. SLEEK, AAG




5
 The respondent in such a petition is the agency, not an individual.
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